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                                                                      FILED
                       UNITED STATES COURT OF APPEALS                 DEC 30 2020

                                                                   MOLLY C. DWYER, CLERK
                              FOR THE NINTH CIRCUIT                 U.S. COURT OF APPEALS




 BAO XUYEN LE, as the court appointed        No.   19-35464
 Personal Representative of the estate of
 Tommy Le; HOAI SUNNY LE, Tommy              D.C. No. 2:18-cv-00055-TSZ
 Le’s Father; DIEU HO, Tommy Le’s            Western District of Washington,
 Mother,                                     Seattle

                Plaintiffs-Appellees,
                                             ORDER
 v.

 CESAR MOLINA, King County Deputy
 Sheriff,
          Defendant-Appellant,

 and

 MARTIN LUTHER KING JR. COUNTY,

                Defendant.



 BAO XUYEN LE, as the court appointed        No.   19-35465
 Personal Representative of the estate of
 Tommy Le; HOAI SUNNY LE, Tommy              D.C. No. 2:18-cv-00055-TSZ
 Le’s Father; DIEU HO, Tommy Le’s            Western District of Washington,
 Mother,                                     Seattle

                Plaintiffs-Appellees,
                                             ORDER
 v.



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 MARTIN LUTHER KING JR. COUNTY,

                Defendant-Appellant,

 and

 CESAR MOLINA, King County Deputy
 Sheriff,

                Defendant.


Before: Peter L. Shaw, Appellate Commissioner.

                                           I
                                       Background

       Deputy Sheriff Cesar Molina fatally shot Tommy Le, and Bao Xuyen Le,

Hoai Sunny Le, and Dieu Ho (together, “Le”) brought a civil rights action against

Molina and Martin Luther King Jr. County (together, “Appellants”). See Le v.

Molina, 810 F. App’x 550, 551 (9th Cir. 2020). The district court denied Molina’s

motion for summary judgment based on a claim of qualified immunity, and Molina

filed appeal number 19-35464. Id. The district court denied King County’s

motion for summary judgment on all causes of action, in which Molina joined, and

King County filed appeal number 19-35465. Id. This court consolidated the

appeals and dismissed the appeals for lack of jurisdiction, because Appellants did

not accept Le’s version of the facts and failed to present a question of law. Id.


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       Le filed a motion for an award of attorneys’ fees and double costs as a

sanction under Federal Rule of Appellate Procedure 38 against Appellants for

filing frivolous appeals. Appellants filed an opposition, and Le filed a reply. In an

order at Docket Entry No. 73, the court granted Le’s motion for sanctions, denied

Appellants’ request for reconsideration, and referred to the Appellate

Commissioner the determination of an appropriate amount of attorneys’ fees and

costs. See 9th Cir. R. 39-1.9.

       The Appellate Commissioner ordered the parties to brief the question of the

amount of fees and costs, citing Blixseth v. Yellowstone Mtn. Club, LLC, 854 F.3d

626, 630-31 (9th Cir. 2017) (the only inquiry in determining the propriety of the

amount of attorneys’ fees to be paid as damages under Rule 38 is whether the

appellees have actually incurred the fees sought in defending against the frivolous

appeal). Le filed a motion for attorneys’ fees and double costs, Appellants filed an

opposition, and Le filed a reply.

                                         II
                                     Discussion

A. Attorneys’ Fees

       Le requests $87,440 in attorneys’ fees for 245.25 hours of work at hourly

rates of $450 and $475 for attorney Philip Talmadge, $300 and $350 for attorney



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Aaron Orheim, and $125 and $140 for paralegal Matt Albers of

Talmadge/Fitzpatrick, and $400 for Philip G. Arnold of Campiche Arnold, PLLC,

in Seattle, Washington. Contrary to Appellants’ argument, Le’s fee motion is

sufficient to satisfy the burden to submit evidence of the hours worked and the

rates claimed. See Fischer v. SJB-P.D. Inc., 214 F.3d 1115, 1121 (9th Cir. 2000).

       Le presents Talmadge’s declaration and fee awards in other cases showing

that “the requested rates are in line with those prevailing in the community for

similar services by lawyers [and paralegals] of reasonably comparable skill,

experience and reputation.” Blum v. Stenson, 465 U.S. 886, 895 n.11 (1984).

Appellants do not object to the requested hourly rates, and the rates are awarded.

       Le also presents Talmadge/Fitzgerald’s invoices and the attorneys’ and

paralegal’s time records. Le requests 245.25 hours for preparing notices of

appearance, a motion to certify the appeals as frivolous and reply, a response to a

motion to certify an interlocutory appeal, a mediation questionnaire, a motion to

amend the complaint and reply, a motion to dismiss and reply, a response to a

motion to consolidate, extension requests, a 14,289-word consolidated answering

brief, supplemental excerpts of record, citations of supplemental authorities, a bill

of costs, a sanction motion, a sanction reply, a fee motion, and a fee reply, and for




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participating in a mediation teleconference and appearing at oral argument in

Seattle.

       Appellants object to awarding Le’s requested 245.25 hours and $87,440 in

fees, arguing that no more than $51,690 in fees were direct costs actually incurred

in defending against the frivolous appeals. See Blixseth, 854 F.3d at 630-31. Le

does not dispute Appellants’ calculation of the proposed number of hours and

amount of fees to be disallowed. Le argues that the court may award under Rule

38 all fees that would not have occurred but for the sanctionable conduct, but

Blixseth distinguished sanctions awards of “just damages” under Rule 38 from

sanctions awards under the court’s inherent power. Id.; cf. Goodyear Tire &

Rubber Co. v. Haeger, 137 S. Ct. 1178, 1182 (2017).

       1. District Court Motions

               a. Motion To Certify Appeal As Frivolous

       Appellants argue that $5,140 in fees should be disallowed for Le’s

unsuccessful district court motion to certify the appeals as frivolous and for the

reply to Appellants’ opposition to the motion. After Appellants filed the notices of

appeal, the district court set a deadline for Le’s filing of any motion pursuant to

Chuman v. Wright, 960 F.2d 104, 104-05 (9th Cir. 1992). Chuman holds that

“should the district court finds that the defendants’ claim of qualified immunity is

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frivolous or has been waived, the district court may certify, in writing, that

defendants have forfeited their right to pretrial appeal, and may proceed with trial.

In the absence of such certification, the district court is automatically divested of

jurisdiction to proceed with trial pending appeal.” Id. at 105.

       Thus, the time spent on Le’s motion to certify the appeals as frivolous was

actually incurred to defend against delay of the district court trial pending

disposition of the appeals, but was not a direct cost actually incurred to defend

against the appeals themselves, which would go forward regardless of the filing

and disposition of the motion. See Blixseth, 854 F.3d at 630-31. Le could have

elected not to file the Chuman motion in the district court, and nevertheless still

presented all of his arguments on the merits in the court of appeals. Accordingly,

$5,140 in fees are disallowed on this ground. Id.

               b. Motion To Amend The Complaint

       Appellants object to $5,370 in fees for preparing a district court motion to

amend the complaint to add a claim based on a newly decided case, as well as for

preparing a reply to the opposition to the motion. This work solely furthered the

district court action. Again, these fees were not a direct cost actually incurred in

defending against the frivolous appeals, and they are disallowed. Id.




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               c. Response To Motion For 28 U.S.C. § 1292(b) Certification

       Appellants object to $6,080 in fees for Le’s district court response to King

County’s motion to certify for interlocutory review pursuant to 28 U.S.C.

§ 1292(b) the issue of its liability under Monell v. Dep’t of Soc. Servs., 436 U.S.

658 (1978), for failure to investigate and ratification of Molina’s decision to shoot

Tommy Le. The district court denied the motion because King County sought

review of factual matters properly reserved for the jury. King County did not seek

appellate court permission to appeal under § 1292(b), but argued unsuccessfully in

the reply brief that the court had pendent appellate jurisdiction. Le’s district court

work on the § 1292(b) response was not a direct cost actually incurred to defend

against the appeals. See Blixseth, 854 F.3d at 630-31. Accordingly, $6,080 in fees

for the § 1292(b) response are disallowed.

       2. Court Of Appeals Motions

               a. Motion To Dismiss King County’s Appeal

       Appellants object to $3,825 in fees for Le’s court of appeals motion to

dismiss King County’s appeal and Le’s reply to King County’s opposition to the

motion, arguing that these fees were not direct costs actually incurred in defending

against the frivolous issues or portions of the appeal. Id. This objection lacks

merit. Le sought to dismiss for lack of jurisdiction King’s County’s pendent

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appeal of the Monell issue discussed above. The court denied the motion without

prejudice to renewing the arguments in the answering brief. After Le renewed the

arguments in the answering brief, the court dismissed King County’s appeal for

lack of jurisdiction. See Le, 810 F. App’x at 551. Work on the motion to dismiss

was a direct cost actually incurred in defending against King County’s frivolous

appeal, and therefore the $3,825 in fees spent on it are awarded. See Blixseth, 854

F.3d at 630-31.

               b. Sanctions And Fees Motions And Replies

       Appellants object to $15,155 in fees for preparing the sanctions and fees

motions and replies. This objection has merit. Le’s fees for preparing the

sanctions and fees motions and replies may not be awarded under Rule 38. Id.

The “just damages” authorized under Rule 38 may not include fees incurred in

obtaining the sanctions or damages. Id.; see also Lyddon v. Geothermal Props.,

Inc., 996 F.2d 212, 215 n.2 (9th Cir. 1993) (based on analogy to former Rule 11,

declining to award under Rule 38 fees for obtaining sanctions).

       Le’s argument that fees for obtaining sanctions are authorized by Rule 11 as

amended after Lyddon is unavailing. Rule 11 was amended before the Blixseth

decision, and Blixseth nevertheless held that fees for obtaining sanctions may not

be awarded under Rule 38's “just damages” provision. See Blixseth, 854 F.3d at

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630-31 & n.4. Blixseth and Rule 38, not Rule 11, govern the award of fees here.

Accordingly, $15,155 in fees for preparing the fees and sanctions motions and

replies are disallowed.

       3. Time Unrelated To Appeals

       Appellants object to $180 in fees for “Continue preparation of settlement to

the City attorney; emails with Judge Allen re: same,” arguing that the time has no

apparent relationship to this case. Le does not respond to this objection, and it has

merit. Thus, $180 in fees are disallowed as not a direct cost actually incurred in

defending against the frivolous appeals. See Blixseth, 854 F.3d at 630-31.

       4. Summary

       Le’s remaining $55,515 in fees were direct costs actually incurred for

defending against Appellants’ frivolous appeals, and they are awarded under Rule

38. Id.

B. Double Costs

       Appellants argue that the court’s order at Docket Entry No. 73 did not award

double costs. But the court’s order granted Le’s motion for sanctions, which

specifically requested an award of double costs under Rule 38. Accordingly, Le’s

taxed costs of $618.80 are doubled, and Le is awarded $1,237.60 in double costs.

See Fed. R. App. P. 38; Erde v. Bodnar, 889 F.3d 975, 978 & n.1 (9th Cir. 2018)

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(bill of costs underlies request for double costs under Rule 38); see also Gregory P.

Joseph, Sanctions: The Federal Law of Litigation Abuse § 33(A) (LexisNexis

2013) (The “‘costs’ referred to in Appellate Rule 38 . . . are those itemized in 28

U.S.C. § 1920.”).

C. Joint And Several Liability

       The award of attorneys’ fees and double costs under Rule 38 is imposed

against Molina, King County, and their attorneys “jointly and severally, since

attorney and client are in the best position between them to determine who caused

the appeal to be taken.” Int’l Union of Bricklayers Local 20 v. Martin Jaska, Inc.,

752 F.2d 1401, 1407 n.8 (9th Cir. 1985).

                                        III
                                     Conclusion

       Pursuant to Federal Rule of Appellate Procedure 38 and the court’s order at

Docket Entry No. 73, attorneys’ fees and double costs in the amount of $56,752.60

are awarded in favor of Bao Xuyen Le, Hoai Sunny Le, and Dieu Ho, and jointly

and severally against Cesar Molina, Timothy R. Gosselin, Martin Luther King Jr.

County, Daniel Louis Kinerk, David J. Hackett, and Kathleen Cullen Van Olst.

This order amends the court’s mandate.




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